           Case 8:21-ap-01097-SC Doc 36 Filed 09/04/22                                            Entered 09/04/22 21:14:35                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 3
                                                              United States Bankruptcy Court
                                                               Central District of California
Houser Bros. Co.,
       Plaintiff                                                                                                       Adv. Proc. No. 21-01097-SC
Gallian,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Sep 02, 2022                                               Form ID: pdf031                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 04, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
dft                     + Email/PDF: jamiegallian@gmail.com
                                                                                        Sep 03 2022 00:16:00      Jamie Lynn Gallian, 16222 Monterey Ln SP #376,
                                                                                                                  Huntington Beach, CA 92649-2258

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
pla                            Houser Bros. Co.

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 04, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 1, 2022 at the address(es) listed
below:
Name                               Email Address
D Edward Hays
                                   on behalf of Plaintiff Houser Bros. Co. ehays@marshackhays.com
                                   ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

Jeffrey I Golden (TR)
                                   lwerner@go2.law jig@trustesolutions.net;kadele@go2.law

Laila Masud
                                   on behalf of Plaintiff Houser Bros. Co. lmasud@marshackhays.com lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
         Case 8:21-ap-01097-SC Doc 36 Filed 09/04/22                           Entered 09/04/22 21:14:35    Desc
                             Imaged Certificate of Notice                      Page 2 of 3
District/off: 0973-8                                         User: admin                                    Page 2 of 2
Date Rcvd: Sep 02, 2022                                      Form ID: pdf031                               Total Noticed: 1
United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 4
     Case 8:21-ap-01097-SC Doc 36 Filed 09/04/22                          Entered 09/04/22 21:14:35             Desc
                         Imaged Certificate of Notice                     Page 3 of 3


1
2
                                                                             FILED & ENTERED
3
4                                                                                   SEP 01 2022
5
                                                                               CLERK U.S. BANKRUPTCY COURT
                                                                               Central District of California
6                                                                              BY bolte      DEPUTY CLERK


7
8
                                 UNITED STATES BANKRUPTCY COURT
9
                     CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
10
11    In re:                                              CHAPTER 7

12    Jamie Lynn Gallian                                  Case No.: 8:21-bk-11710-SC
                                                          Adv No: 8:21-ap-01097-SC
13
                                                          ORDER CONTINUING PRETRIAL HEARING
14
                                   Debtor(s).
15    Houser Bros. Co., dba Rancho Del Rey                New Date/Time:
      Mobile Home Estates,                                Date:           September 27, 2022
16                                                        Time:           1:30 p.m.
                                   Plaintiff(s),
          v.                                              Courtroom: 5C-Virtual. Accessibility
17                                                        information will be posted into the tentative
18                                                        ruling prior to the hearing.
      Jamie Lynn Gallian
                                         Defendant(s).
19
20
                The Pretrial Conference scheduled for September 22, 2022, at 10:00 a.m. is
21
      hereby CONTINUED to September 27, 2022, at 1:30 p.m.
22
                IT IS SO ORDERED.
23
24
25             Date: September 1, 2022

26
27
28




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